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 1                                 UNITED STATES DISTRICT COURT
 2                              NORTHERN DISTRICT OF CALIFORNIA
 3                                           OAKLAND DIVISION
 4

 5   EPIC GAMES, INC.,                                  Case No. 4:20-CV-05640-YGR
 6                          Plaintiff, Counter-         DECLARATION OF STEVEN SINGER IN
                            Defendant                   SUPPORT OF NON-PARTY NINTENDO OF
 7                                                      AMERICA INC.’S ADMINISTRATIVE
            v.                                          MOTION TO SEAL PORTIONS OF DX-4075
 8
     APPLE, INC.,
 9
                            Defendant,
10                          Counterclaimant.
11

12   I, Steven Singer, declare as follows:
13          1.      I am currently Senior Vice President Publisher & Developer Relations at Nintendo

14   of America Inc. (“NOA”). NOA is one of many subsidiaries of Nintendo Co., Ltd. (“NCL”), a

15   corporation based in Japan. Although NCL and each of its subsidiaries (including NOA) are

16   separate companies, for purposes of this declaration I will refer to NCL and its subsidiaries

17   together as “Nintendo.” The facts stated in this declaration are based on my own personal

18   knowledge and, if called as a witness, I could and would testify to those facts.

19          2.      In my current role at NOA, I am responsible for managing the relations between

20   Nintendo and its numerous content developers throughout the United States and Latin America. I

21   have been employed with NOA since April 1999. I joined as Vice President – Latin America and

22   was responsible for overseeing operations in the Latin America region. I also provided support

23   for Nintendo’s operations in Southeast Asia, India, and the Middle East. In January 2007, I

24   became Vice President – Licensing. In that role, I was responsible for licensing activities relating

25   to Nintendo’s brand and accessories. Based on my work experience, I am familiar with

26   Nintendo’s business strategies and security protocols relating to content development. Nintendo

27   keeps that information confidential to protect itself, its developer partners, and its content users

28   from potential harm.


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 1          3.      I understand that Apple may submit a document designated DX-4075 that contains

 2   Nintendo confidential information as a trial exhibit in the above-captioned legal case. I also

 3   understand NOA is filing a motion to seal portions of that document, and I make this declaration

 4   in support of that motion. I further understand that NOA has filed a highlighted and sealed copy

 5   of the document as Exhibit 1 to its motion to seal. I have reviewed the document and explain

 6   below why the highlighted portions contain sensitive and highly confidential information that

 7   would potentially cause serious harm if publicly released.

 8          4.      I have reviewed the document designated DX-4075, which is entitled “Nintendo

 9   Switch Content License and Distribution Agreement” and bears production numbers NOA-EPIC-

10   APPLE_000100-124. For ease of reference, I will refer to that document as the “CLDA.” The

11   highlighted portions of the CLDA in the version filed under seal are confidential to Nintendo and

12   would result in harm if disclosed publicly. The CLDA reflects highly confidential information

13   about Nintendo’s business strategies, including strategies for its relationship with content

14   developers for the Nintendo Switch. The CLDA also describes proprietary features of Nintendo’s

15   content platform for the Nintendo Switch, including security and privacy protections.

16          5.      Nintendo maintains the CLDA as a confidential document. Nintendo takes

17   extensive steps to limit access to the terms of the CLDA and to protect those terms from

18   becoming public. Before obtaining access to the CLDA, a prospective content developer must

19   follow several steps. The developer must first formally apply to Nintendo’s content developer

20   program. If Nintendo accepts the application, the developer must then sign a non-disclosure

21   agreement. Only then can the developer view the CLDA. With respect to its current platform,

22   the Nintendo Switch, Nintendo also requires that developers submit a proposal regarding what

23   they plan to develop along with their development history and prior experience, which Nintendo

24   reviews before any developer is allowed further access into Nintendo’s development ecosystem

25   for the Nintendo Switch. Approval by Nintendo is subjective and selective. In addition, the

26   CLDA states in Section 1.6 that its “terms and conditions” are “Confidential Information.” That

27   provision requires any developer who signs the CLDA to keep its provisions confidential.

28


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 1   Nintendo imposes confidentiality restrictions on the CLDA because its terms reflect sensitive

 2   business and security information.

 3             6.   The sealed version of the CLDA filed by NOA highlights portions of Sections 1.9,

 4   1.11-1.13, 1.15, 1.18, 1.21, 1.25, 3.2, 3.4, 3.12, 5.1-5.3, 6.3-6.4, 6.7, 7.3, 12.2, and Schedule 1

 5   Sections 1.1-1.2, 1.5, and 8.7. The highlighted materials reflect highly confidential information

 6   relating to specific tools and support that Nintendo provides to developers in exchange for their

 7   efforts to develop content for the Nintendo Switch. That information is competitively sensitive.

 8   Nintendo offers a unique combination of benefits to developers to incentivize them to dedicate

 9   time and invest resources to developing content for the Nintendo Switch. If information about the

10   tools and support provided by Nintendo were disclosed publicly, that would potentially

11   undermine Nintendo’s competitive edge in recruiting and retaining developers. A competitor

12   could copy the tools and support provided by Nintendo, eroding the competitive advantage they

13   create.

14             7.   The sealed version of the CLDA filed by NOA highlights portions of Sections 1.1,

15   1.6, 1.8, 1.11-1.12, 1.17-1.18, 1.27-1.28, 1.34, 3.7, 5.1, 6.4-6.5, 9, Exhibit A, and Schedule 1

16   Sections 5-6 that reflect the highly confidential combination of features for Nintendo’s content

17   platform for the Nintendo Switch. The highlighted information is competitively sensitive

18   because, through years of experience and interactions with content developers and users,

19   Nintendo has invested in and created a proprietary mixture of features that distinguish its

20   Nintendo Switch content platform from competitors’ offerings. Some features maintain and

21   enhance security for developers and users. Other features make the platform more appealing to

22   and help retain developers and users. As a result, the array of platform features described in the

23   CLDA reflects Nintendo’s competitive strategy. If the information were released publicly,

24   competitors would be able to emulate Nintendo’s approach, which would eliminate any

25   competitive advantage provided by Nintendo’s combination of features.

26             8.   The sealed version of the CLDA filed by NOA highlights highly confidential

27   information regarding Nintendo’s business strategies for its relationship with content developers.

28   That confidential information includes detailed contract terms relating to:


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 1               •   the development of content and submission of content for approval by Nintendo,

 2                   as reflected in highlighted portions of Sections 1.15-1.16, 1.18, 1.39, 2.1, 3.1-3.5,

 3                   3.7-3.8, 3.10-3.14, 4.1-4.2, 8.8, 10.1.9, and Schedule 1 Section 4;

 4               •   the distribution of content created by developers, as reflected in highlighted

 5                   portions of Sections 1.12-1.13, 1.25, 1.32, 5.1-5.4, 11.3, Schedule 1 Sections 1.1-

 6                   1.4 and 2.1, and Exhibit A to Schedule 1;

 7               •   content-related payments, as reflected in highlighted portions of Schedule 1

 8                   Sections 1.1-1.2, 3.2-3.4, 3.7, 4-6, 8.4, and 8.8 and Exhibit B to Schedule 1;

 9               •   marketing activities by developers and Nintendo, as reflected in highlighted

10                   portions of Sections 1.21 and 6.1-6.7;

11               •   intellectual property rights for developers and Nintendo, as reflected in highlighted

12                   portions of Sections 1.9, 1.32, and 7.3-7.4;

13               •   privacy and information security, as reflected in highlighted portions of Sections

14                   1.6, 1.28, 1.34, 3.7, 5.1, 6.4, 9, and Exhibit A; and

15               •   legal rights and obligations relating to confidentiality, indemnity, modifications to

16                   or termination of the CLDA, assignments and sublicensing, and disputes relating

17                   to the CLDA, as reflected in highlighted portions of Sections 8.1-8.8, 12.1-12.4,

18                   13.1, 14.2.2-14.2.3, and 15.1-15.4.

19          9.       In general, the various provisions of the CLDA are unique to Nintendo and do not

20   merely reflect industry standard provisions. Public disclosure of the highlighted portions of these

21   contractual provisions could lead to substantial competitive harm to Nintendo. Nintendo has

22   drafted the terms of the CLDA that establish its relationship with developers based on decades of

23   experience in partnering with content creators, selecting a collection of terms that are attractive to

24   and advantageous for both developers and Nintendo. If those confidential terms were publicly

25   disclosed, competitors could use them to Nintendo’s detriment to compete for developers by, for

26   example, adopting Nintendo’s strategies for establishing a mutually beneficial relationship with

27   content developers. That could lead to developers spending less time developing content for

28


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